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FoR THE wEsTERN nrsrmcr oF TENNEssEE

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LECTROLARM CUSTOM ) U`S MW;\MQM MDM
SYSTEMS,INC., ) U`EM}‘UQ; mg tt§-‘;MS
Plaintiff, §
v. § NO. 03-2330 MafAn
VICON INDUSTRIES, INC., et al., §
Defendants. §

 

ORDER

 

On July 25, 2005, the Court held a telephone conference with counsel for all parties in
this matter. The purpose of the conference was to discuss pre-trial deadlines in this case. After
due consideration, the Court finds that the deadlines for expert disclosures, dispositive motions,
disclosure of witnesses and exhibits, and motions in limine should be stayed until United States
District Judge Samuel H. Mays, Jr. renders a Claim Construction decision. Alternatively, the
stay imposed by this Order will be lifted if Judge Mays instructs the parties to proceed With the
pretrial matters in anticipation of the approaching trial date.1

lt is also ORDERED that the parties shall immediately notify the Undersigned as soon as
Judge Mays either renders a Claim Construction decision or advises the parties that a definite

trial date has been established, at which time the Undersigned Will convene a status conference to

 

l"l`he trial in this matter is currently set for September 19, 2005, but the Defenclants have requested that
Judge Mays advise the parties if the current trial date remains in effect or if the current trial date will be continued in
light of other matters also scheduled for trial on the same date. The parties also agreed that it would be prudent for
the Undersigned to contact Judge Mays’ chambers concerning the current trial date

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establish deadlines for completion of all pre-trial matters consistent With the District Judge’s

instructions

IT IS SO ORDERED.

gram @.)

S. THOMAS ANDERSON
UNlTED STAT AGISTRATE IUDGE

Date: C()¢Mj` U/,. ?,Od~(

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 420 in
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Honorable Samuel Mays
US DISTRICT COURT

